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U.S. Western District Clerk Office

                        :20-CV-01 176, please find attached The State Of T
In reference to case nbr.   1                                                s
represented by The Texas State Secretary answer.

Thanks

Johnny Saturn




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